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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CARMEN MELENDEZ,

       Plaintiff,

vs.                                                           Case No. 8:18-cv-940

CENLAR FSB,
425 Phillips Blvd.
Ewing, NJ 08618

and

SELENE FINANCE,
P.O. Box 71243
Philadelphia, PA 19176

      Defendants.
_____________________/

          NOTICE OF VOLUNTARY DISMISSAL AS TO CENLAR FSB ONLY

       COMES NOW the Plaintiff, Carmen Melendez, by and through her undersigned counsel

and hereby files her Notice of Voluntary Dismissal with Prejudice as to Cenlar FSB only.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically
filed with the Clerk of Court using the Court’s CM/ECF System which will send an electronic
notification of such filing to all counsel of record, and including by electronic transmission or via
first class, postage paid U.S. mail to:

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on this 14th day of December, 2018.

                                      /s/Robert M. Geller__________
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